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WO                                        UNITED STATES DISTRICT COURT
                                                          DISTRICT OF ARIZONA

              United States of America                                                 ORDER OF DETENTION PENDING TRIAL
                         v.

              Sito Aeroplan Nalwood                                             Case Number:                    CR-18-8328-PCT-GMS

In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been submitted to the Court. I conclude
that the following facts are established: (Check one or both, as applicable.)

:       by clear and convincing evidence the defendant is a danger to the community and require the detention of the defendant
        pending trial in this case.

:       by a preponderance of the evidence the defendant is a serious flight risk and require the detention of the defendant
        pending trial in this case.

                                                            PART I -- FINDINGS OF FACT

9       (1)         18 U.S.C. §3142 (e)(2)(A): The defendant has been convicted of a (federal offense)(state or local offense that
                    would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed) that is

                    9         a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
                    9         an offense for which the maximum sentence is life imprisonment or death.
                    9         an offense for which a maximum term of imprisonment of ten years or more is prescribed in
                                                                                                                                                      1


                    9         a felony that was committed after the defendant had been convicted of two or more prior federal offenses
                              described in 18 U.S.C. § 3142(f)(1)(A)-(C), or comparable state or local offenses.
                    9         any felony that involves a minor victim or that involves the possession or use of a firearm or destructive
                              device (as those terms are defined in section 921), or any other dangerous weapon, or involves a failure
                              to register under 18 U.S.C. §2250.
9       (2)         18 U.S.C. §3142(e)(2)(B): The offense described in finding 1 was committed while the defendant was on release
                    pending trial for a federal, state or local offense.
9       (3)         18 U.S.C. §3142(e)(2)(C): A period of not more than five years has elapsed since the (date of
                    conviction)(release of the defendant from imprisonment) for the offense described in finding 1.
9       (4)         Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions
                    will reasonably assure the safety of (an)other person(s) and the community. I further find that the defendant has
                    not rebutted this presumption.
                                                                  Alternative Findings
9       (1)         18 U.S.C. 3142(e)(3): There is probable cause to believe that the defendant has committed an offense

                    9         for which a maximum term of imprisonment of ten years or more is prescribed in                                          1



                    9         under 18 U.S.C. § 924(c), 956(a), or 2332b.

                    9         under 18 U.S.C. 1581-1594, for which a maximum term of imprisonment of 20 years or more is
                              prescribed.

                    9         an offense involving a minor victim under section ____________________________.2
9       (2)         The defendant has not rebutted the presumption established by finding 1 that no condition or combination of
                    conditions will reasonably assure the appearance of the defendant as required and the safety of the community.


                        1
                         Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export
              Act (21 U.S.C. § 951 et seq.); or (c) Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).

                        2
                         Insert as applicable 18 U.S.C. §§1201, 1591,2241-42, 2244(a)(1), 2245, 2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3,
              2252(a)(4), 2260, 2421, 2422, 2423, or 2425.

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                                                             Alternative Findings
:   (1)         There is a serious risk that the defendant will flee; no condition or combination of conditions will reasonably
                assure the appearance of the defendant as required.
:   (2)         No condition or combination of conditions will reasonably assure the safety of others and the community.
9   (3)         There is a serious risk that the defendant will (obstruct or attempt to obstruct justice) (threaten, injure, or
                intimidate a prospective witness or juror).
9   (4)




                                PART II -- WRITTEN STATEMENT OF REASONS FOR DETENTION
                                                         (Check one or both, as applicable.)

9   (1)         I find that the credible testimony and information3 submitted at the hearing establishes by clear and convincing
                evidence as to danger that:




:   (2)         I find that a preponderance of the evidence as to risk of flight that:

    9           The defendant has no significant contacts in the District of Arizona.

    9           The defendant has no resources in the United States from which he/she might make a bond reasonably
                calculated to assure his/her future appearance.

    :           The defendant has a prior criminal history.

    9           There is a record of prior failure to appear in court as ordered.

    9           The defendant attempted to evade law enforcement contact by fleeing from law enforcement.

    9           The defendant is facing a minimum mandatory of
                         .
                                                                                                  incarceration and a maximum of


9   The defendant does not dispute the information contained in the Pretrial Services Report, except:




                    3
                     The rules concerning admissibility of evidence in criminal trials do not apply to the presentation and consideration of
          information at the [detention] hearing. 18 U.S.C. § 3142(f). See 18 U.S.C. § 3142(g) for the factors to be taken into account.

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:       In addition:

        The defendant submitted the issue of detention. Defendant was on supervised release in CR-06-958-PCT-GMS while
        charged with the instant offense.




        The Court incorporates by reference the findings of the Pretrial Services Agency which were reviewed by the Court at the
        time of the hearing in this matter.

                                       PART III -- DIRECTIONS REGARDING DETENTION

          The defendant is committed to the custody of the Attorney General or his/her designated representative for confinement
in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody
pending appeal. The defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On
order of a court of the United States or on request of an attorney for the Government, the person in charge of the corrections
facility shall deliver the defendant to the United States Marshal for the purpose of an appearance in connection with a court
proceeding.

                                      PART IV -- APPEALS AND THIRD PARTY RELEASE

         IT IS ORDERED that should an appeal of this detention order be filed with the District Court, it is counsel's responsibility
to deliver a copy of the motion for review/reconsideration to Pretrial Services at least one day prior to the hearing set before the
District Court. Pursuant to Rule 59(a), FED.R.CRIM.P., effective December 1, 2009, Defendant shall have fourteen (14) days
from the date of service of a copy of this order or after the oral order is stated on the record within which to file specific written
objections with the district court. Failure to timely file objections in accordance with Rule 59(a) may waive the right to review.
59(a), FED.R.CRIM.P.

         IT IS FURTHER ORDERED that if a release to a third party is to be considered, it is counsel's responsibility to notify
Pretrial Services sufficiently in advance of the hearing before the District Court to allow Pretrial Services an opportunity to
interview and investigate the potential third party custodian.


DATED this 18th day of October, 2018




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